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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                             X
DANIEL RODRIGUEZ, on behalf of himself and
all others similarly situated, ,                                               REQUEST FOR
                                             Plaintiff(s),                     CERTIFICATE OF
                                                                               DEFAULT
                  -against-                                                     1:22-CV- 7288


APR57.COM, INC.,
                                              ,
                                             Defendant(s).


                                                             X

TO:      JUDGE TARYN A. MERKL
         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK



                     Please enter the default of defendant(s),         APR57.COM, INC.,   pursuant to Rule 55(a)

of the Federal Rules of Civil Procedure for failure to plead or otherwise defend this action as

fully appears from the court file herein and from the attached affirmation of
 In Support of Request for Certificate of Default.




Dated: 3-20-2023                                                 By: s/Mark Rozenberg
                                                                   Mark Rozenberg
                                                                   Stein Saks, PLLC
                                                                   One University Plaza
                                                                   Hackensack, NJ 07601
                                                                   201-282-6500
                                                                   mrozenberg@steinsakslegal.com
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                               X
DANIEL RODRIGUEZ, on behalf of himself
and all others similarly situated, ,                                      AFFIRMATION IN SUPPORT
                                                                          OF
                                              Plaintiff(s)                REQUEST FOR CERTIFICATE
                                                                          OF DEFAULT
-against-
                                                                     1:22- CV -7288
APR57.COM, INC.,
                                               ,
                                              Defendant(s).

                                                              X
           DANIEL RODRIGUEZ
                                                      hereby declares as follows:

          1.      I am the plaintiff in this action.
                                                                      28 U.S.C. § 1331 and 42 U.S.C. § 12182
          2.      This action was commenced pursuant to                                                .
                                                     APR57.COM, INC.,
          3.      The time for defendant(s),                                         or otherwise

move with respect to the complaint herein has expired.
                                      APR57.COM, INC.,
4.      Defendant(s),                                                    , has not answered or otherwise moved
with respect to the complaint, and the time for defendant                                APR57.COM, INC.,



to answer or otherwise move has not been extended.
     5.        That defendant(s) APR57.COM, INC.,                                  is not an infant or
       incompetent. Defendant(s) APR57.COM, INC., is not presently in the military
       service of the United States as appears from facts in this litigation.

                                  APR57.COM, INC.,                                is indebted to Plaintiff
          6.      Defendant(s)
    Daniel Rodriguez
                                  , in the following manner (state the facts in support of the claim(s)):
 Plaintiff is a blind individual who attempted to access Defendant's website on multiple occasions using special screen reader

 software. However, due to Defendant's website barriers which fail to allow disable persons the ability to access its site

  using the disability software necessary for their use of the site, these access barriers have denied Plaintiff full and equal
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access to Defendant's website and the goods and services it provides to the public. Defendant is entitled to injunctive

and declaratory relief and other remedies, procedures and rights set forth under 42 U.S.C. § 12188 and the NYC Human

Rights Law, including statutory, compensatory and punitive damages, pre and post judgment interest

and reasonable costs and attorneys’ fees in addition to such other relief this Court deems just and proper

Therefore, Defendant is indebted to Plaintiff in the amount of $20,000.00




        WHEREFORE, plaintiff              DANIEL RODRIGUEZ                       requests that the default of

defendant(s) APR57.COM, INC.,                         be noted and a certificate of default issued.

        I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information and belief, that the amount claimed is justly due to plaintiff, and that no

part thereof has been paid.


                                                                     s/Mark Rozenberg
Dated: 3-20-2023                                               By:
                                                                 Mark Rozenberg
                                                                 Stein Saks, PLLC
                                                                 One University Plaza
                                                                 Hackensack, NJ 07601
                                                                 201-282-6500
                                                                 mrozenberg@steinsakslegal.com
